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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CABLE NEWS NETWORK, INC, and ABILO
JAMES ACOSTA,

Plaintiffs,
Vv.

DONALD J. TRUMP, in his official capacity as
President of the United States; JOHN F. KELLY, in
his official capacity as Chief of Staff to the President |
of the United States; WILLIAM SHINE, in his
official capacity as Deputy Chief of Staff to the
President of the United States; SARAH HUCKABEE
SANDERS, in her official capacity as Press Secretary
to the President of the United States; the UNITED ©
STATES SECRET SERVICE; RANDOLPH ALLES,
in his official capacity as Director of the United
States Secret Service; and JOHN DOE, Secret
Service Agent, in his official capacity,

Defendants.

 

 

Case No.

DECLARATION OF TODD JOSEPH GILLMAN IN SUPPORT OF PLAINTIFFS’
MOTION FOR A TEMPORARY RESTRAINING ORDER
AND PRELIMINARY INJUNCTION

1, Todd Joseph Gillman, declare as follows:

1, I am employed as Washington Bureau Chief for The Dallas Morning News (“The

News”), a position I have held since January 2009. I became a Washington correspondent for

The News in January 2003. I have been employed by The News since 1990.

2, I was elected to the board of the White House Correspondents’ Association

(“WHCA”) in July 2014 for a three-year term, and reelected in July 2017 for a second three-year

term. The WHCA represents the interests of the White House press corps, advocating for
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journalists’ access and coordinating with White House staff on logistics. Regular WHCA
membership is open to journalists who regularly report on the White House.

3, In my capacity with The News, I have had a White House “hard pass” during the
administrations of Presidents George W. Bush, Barack Obama and Donald Trump, and
continuously since approximately 2005.

4, I am familiar with the procedures for obtaining and renewing a hard pass, in my
capacities as an individual journalist, a manager of other journalists, and a member of the
WHCA board.

5, In April 2017, 1 authored (with input from fellow members of the WHCA board)
a primer for journalists newly assigned to the White House titled “Welcome to the White House
Beat.” We disseminated the primer at the time and have provided it to journalists covering the
White House since then.

6. The primer addresses the issue of hard passes in two sections, set forth below:

How do I get into the White House without a hard pass?

You’ ll need to be cleared in for specific events, or for a day at a time.
Email whopress@who.ecop.gov or call the Press Office at (202) 456-
9570.

They’ll need personal information: full name, date of birth, Social
Security number, citizenship.

e Enter at the Northwest gate, on Pennsylvania Avenue across
from Lafayette Park.
° Leave extra time when trying to enter the complex for major

news events, ~

How to get a hard pass

Journalists who cover the White House regularly are eligible for a
hard pass. The process is managed by the White House Press Office.
Applications require approval by the press secretary, followed by a
background check by the Secret Service. The process typically takes
months.

Hard passes are valid for two years and should be updated with
changes of employer. Passes are issued by The Presidential
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Protective Division, U.S. Secret Service, EEOB, Room 18. You'll
get an appointment when you’re approved, Their phone is (202)
757-3948. Contact them immediately if your pass is lost or stolen.
7. When applying for a hard pass, the Secret Service requires a letter with the
following information:
e Job title.
e Affirmation that you reside in the Washington, D.C. area.
e Affirmation that you are assigned to the White House on a regular basis.
e Affirmation that you have a congressional press credential. As a print reporter, mine
comes from the Congressional Press Gallery. Other galleries handle credentials for

photojournalists, radio journalists, and television journalists, etc.

e Permission for the Secret Service to perform any necessary background investigation.

8. To my knowledge, eligibility for a hard pass has never been denied, revoked or
suspended for any reason other than an individual being reassigned from the White House beat,
failing to enter the White House for an extended period of at least six months, or because of a red
flag on a criminal background check.

9. A hard pass is critical for anyone who reports regularly on the White House. It
allows access to the White House complex on short notice, and with minimal delay, which is
essential for covering the news relating to the White House and the presidency. The White
House complex is a daily work place for the White House press corps. Press briefings and
presidential news conferences are often not announced more than a half hour in advance and
delay in getting access to the White House complex can be prevent a reporter from being able to
cover these events, Leaving the complex even to get lunch can be problematic. Pennsylvania

Avenue is often closed to pedestrians without a hard pass, requiring long detours and delays,
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especially during visits by foreign dignitaries. A Secret Service agent stationed at barriers prior
to the security gatehouse waves hard pass holders through without delay. Those without a hard
pass often face a delay at this checkpoint, which can mean missing out on important stories
altogether.

10. At the security gatehouse, journalists with a hard pass are given immediate entry.
Those without a hard pass are required to wait outside the locked gate and are only allowed in
one at atime. There is often a long delay while the agents check each person’s ID against the
computerized list of those granted access for that day, and the process is not always successful.
For example, someone who submitted a request for access in a timely way may not show up in
the system. A single typo on a name or Social Security number will preclude clearance, even for
people who have been cleared in many times before.

11. I have attended briefings at which reporters without a hard pass have been turned
away, or delayed a half-hour or more. This has also happened to Dallas Morning News reporters
whom I have assigned to cover events or briefings at the White House.

12. Even once a journalist is on White House grounds, a hard pass is essential to free
movement in the places where press access is permitted, and thus to gathering news at the White
House, where spontaneous briefings -- and informal but journalistically productive conversations
- frequently occur with the White House Press Secretary, other members of the press staff, and
with senior and junior government officials. For example, journalists without hard passes may
have difficulty accessing the “upper press” area, which is outside the offices of the Press
Secretary and Deputy Press Secretary, where such spontaneous briefings and “gaggles”
frequently occur. This area is near the Oval Office and is manned by Secret Service personnel,

all of whom are familiar with and recognize the hard passes.
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13, In particular during the Trump administration, the White House press office has at
times required 24 hours advance notice for journalists requesting access to the complex. But
often, news events are not announced until the same day, or within hours. This means that
without a hard pass an individual has no opportunity to attend a news event. For breaking news,
the lack of a hard pass effectively means a journalist could not cover the event from the White
House at all. Journalism requires more being a spectator. A journalist needs the opportunity to
observe first hand and to ask questions.

14. A hard pass is invaluable for individuals assigned by their news outlets to travel
with the President aboard Air Force One. It facilitates getting through security at J oint Base
Andrews and being added to travel manifests.

15. White House reporters often travel domestically and overseas to cover the
President. There is always Secret Service security at Presidential events. The Secret Service-
issued hard pass minimizes delays and allows a journalist to do the job unimpeded. The lack of
hard pass is a significant impairment for a reporter covering these events.

16. I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 12th day of November 2018 in Washington, DC.

“od MIA

Todd Joseph Gillman

 
